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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION


 CRAIG DISHER AND SCOTT                   Cause No. CV- l5'- ~o-8 U-S ~ \-f
 DISHER,

             Plaintiffs,                  DEFENDANT STATE FARM
                                          FIRE AND CASUALTY
 v.                                       COMPANY'S NOTICE OF
                                          REMOVAL
 STATE FARM FIRE AND
 CASUALTY COMPANY dba STATE
 FARM or STATE FARM GROUP, and
 DOES I through X.

             Defendants.



      Defendant State Farm Fire and Casualty Company ("State Farm"), pursuant

to 28 U.S.C. §§ 1332, 1441and1446(b), et seq., hereby removes this action to this

Court. The grounds for removal are as follows:
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        1.     Plaintiff filed a Complaint against State Farm in the Montana Sixth

Judicial District Court, Park County, Cause No. DV-15-117, in August, 2015.

Defendant State Farm was served with the Summons and Complaint in accordance

with§§ 33-1-601, 602, and 603, MCA, and the Montana State Auditor's service of

process transmittal was dated September 9, 2015. Dated this 16th day of October,

2015.

        2.     A list of and copies of all process, pleadings and orders served or filed

in this action are attached and filed herewith. See Exhibit A.

        3.     Defendant State Farm is informed, believes and alleges that Craig

Disher and Scott Disher own property in Gallatin County, Montana, and are citizens

of a state other than the State of Montana.

        4.     Defendant State Farm is not incorporated in the State of Montana and

does not have its principal place of business in Montana. Thus, Defendant State

Farm is not a citizen or resident of Montana under 28 U.S.C. § 1332(e)(l).

        5.     Defendant State Farm is a corporation incorporated in and has its

principal place of business located in the State of Illinois. Therefore, pursuant to 28

U.S.C. §§ 1332(c) and 1441, Defendant State Farm is deemed to be a citizen of the

State of Illinois.

        6.     Based upon the allegations in Plaintiffs Complaint, the amount in

controversy in this case exceeds $75,000.

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      7.      In the Complaint, Plaintiffs seek a declaratory judgment as well as

allege that Defendant State Farm violated statutory bad faith laws; breached its

insurance contract; and that State Farm is liable for special and general damages,

punitive damages, attorneys' fees, interests and costs. See Exhibit A,   Complaint,~~


21, 24, and Prayer.

      8.      Defendant State Farm can demonstrate, by a preponderance of the

evidence, that the amount in controversy for the claims exceeds the jurisdictional

minimum. See, Singer v. State Farm Mutual Automobile Insurance Company, 116

F .3d 373 (9th Cir. 1997); Sanchez v. Monumental Life Insurance Company, 102 F .3rd

398 (9th Cir. 1996); Birkenbuel v. N.C.C. Construction Corporation, 962 F. Supp.

1305 (D. Mont. 1997). Pursuant to established law, Defendant State Farm need not

demonstrate the case value to a certainty. Id.

      9.      Damages for alleged unfair claim practices are difficult to quantify and

are typically left to the jury's discretion. See, e.g., Cartwright v. Equitable Life

Assurance Society ofthe US., 276 Mont. 1, 914, P.2d 976 (1996); Dees v. Am. Nat'!

Fire Ins. Co., 260 Mont. 431, 861p.2d141 (1993).

      10.     Attached as Exhibit B to this Notice of Removal is a compilation of

verdicts in Montana bad faith and unfair claims practices actions which indicate that

juries can reach verdicts well in excess of the $75,000.00 jurisdictional minimum.

In some of the cited cases, the punitive damage awards were as high as 40 to 144
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times the compensatory awards, when the compensatory awards were less than

$75,000.

      11.    In Montana case, Cavin v. Unum Life Ins. Co. of America, CV 01-28-

M-DWM (D. Mont.), which involved similar claims for relief, U.S. District Court

Judge Donald Molloy denied a motion to remand on the basis that plaintiffs claim

for punitive damages in an unfair claims practices case satisfies the jurisdictional

amount. See Exhibit C, March 3, 2001, Cavin Order attached hereto.

      12.    Although State Farm alleges and believes that Plaintiffs will seek

compensatory damages in excess of $75,000.00, even if Plaintiffs' compensatory

damages claim is not more than $75,000.00, State Farm alleges that the

compensatory and punitive damages together "heighten the potential for a judgment

in excess of jurisdictional limits." See Ex. C, Cavin Order, p. 2. On that basis alone,

this case satisfies the amount in controversy requirement for diversity jurisdiction.

      13.    Moreover, the amount in controversy includes the amount of damages

in dispute, as well as attorney's fees, if authorized by statute or contract. Kroske v.

US. Bank Corp., 432 F.3d 976, 908 (9th Cir. 2005). Plaintiffs allege a statutory

basis, namely § 27-8-101, MCA, entitling them to recover attorneys' fees. In the

case of King v. GEICO Ins. Co., 2014 WL 1789460, by Order dated May 5, 2014,

U.S. Magistrate Judge Richard Anderson awarded plaintiffs counsel $43,727.88 in

attorney fees associated with plaintiffs prosecution of his declaratory judgment
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action which sought damages similar to those sought in this action. Plaintiffs claim

for attorney fees, based on § 27-8-101, MCA, further heightens the likelihood that

the amount of damages in dispute exceeds jurisdictional limits. Ex. C, p. 2.

      14.     Plaintiffs can avoid removal by utilizing available procedural devices

in stating that all of claims have a value ofless than $75,000 in a Notice or Statement

of Damages. See§§ 25-4-313 and 25-4-314, MCA; Rollwitz v. Burlington Northern

R.R., 507 F.Supp. 582, 588 (D. Mont. 1981) (" ... if the plaintiff is to reserve the

option of avoiding the federal forum, he must take the initiative and inform the

defendant of the amount being sought").

      15.      While Plaintiffs allege that John Does I through X are individuals or

business entities who may be responsible for the damages alleged in the Complaint

(Exhibit A,   Complaint,~   3), the citizenship of John Does I through Xis disregarded

for determining diversity jurisdiction. Accordingly, the consent of John Does I

through X is not required to effectuate removal because the citizenship of defendants

sued under fictitious names shall be disregarded for removal purposes. 28 U.S.C. §

1441(a). Moreover, John Does I through X are nominal parties who have not been

served. A party not served need not be joined in the removal petition. Salveson v.

Western States Bankcard Association, et al., 731F.2d1423, 1429 (1984).

      16.     Removal of this case is permitted under 28 U.S.C. § 1441(a) because

for purposes of removal, the citizenship of defendants sued under fictitious names
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shall be disregarded, 28 U.S.C. § 1441(b), based upon complete diversity of

citizenship (after the disregard of the fictitiously named plaintiffs), and the fact that

the amount in controversy could exceed $75,000.00.

       17.     Pursuant to 28 U.S.C. § 1441(a), and Rule l.2(c)(4) of the Rules of

Procedure of the United States District Court for the District of Montana, the United

States District Court of Montana, Butte Division, has jurisdiction and venue over

this action because the Butte Division of this court embraces Gallatin County,

Montana.

       18.     This action is a civil action which may be removed by State Farm to

the United States District Court for the District of Montana, pursuant to 28 U.S.C.

§§ 1332 and 1441. The United States District Court has original jurisdiction over

this cause.

       19.     Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely

because it is filed with the Court within thirty (30) days of the date of the Montana

State Auditor's letter dated September 18, 2015.

      20.      Defendant State Farm consents to this removal.

      21.      Notice of filing of this Notice of Removal has been given to Plaintiffs

by service of a copy of this Notice of Removal upon Plaintiffs' attorney as required

by 28 U.S.C. § 1446(d).



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      22.     Within seven (7) days of the filing of this Notice, State Farm will

provide a copy of the Notice to the Clerk of District Court of the Montana Eighteenth

Judicial District Court, as required by Local Rule 3.3(a) of the United States District

Court for the District of Montana.

      23.     Under the provisions of 28 U.S.C. §§ 1332, 1441, 1446, and other

applicable statutes, all of which State Farm has complied with, this cause is

removable to the United States District Court, for the District of Montana, Butte

Division.

      WHEREFORE, Defendant State Farm gives notice that Cause No. DV-14-

871 B, formerly pending in the Montana Eighteenth Judicial District Court, has been

removed to the United States District Court for Montana.

      Dated this 16th day of October, 2015.

                                        MOORE, COCKRELL,
                                        GOICOECHEA & JOHNSON, P.C.

                                        /s/ Dale R. Cockrell
                                        Dale R. Cockrell
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                                        Attorneys for Defendant State Farm Fire
                                        and Casualty Company


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                           CERTIFICATE OF SERVICE


      The undersigned does hereby certify that a true copy of the foregoing

document was served upon the following individuals by the means designated

below:

 [ X] U.S. Mail             Daniel B. Bidegary
 [ ] Federal Express        Bert J. Certain
 [ ] Hand-Delivery          BIDEGARY LAW FIRM, LLC
 []Facsimile                2042 Stadium Drive, Suite 1
 []E-Mail                   Bozeman, MT 59715
                            Attorneys for Plaintiff




         Dated this 161h day of October, 2015.



                                  ls/Lori Benedetto
                                  Lori Benedetto
                                  lbenedetto@mcgalaw.com




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